







NUMBER 13-00-233-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


____________________________________________________________________


RAY BARRERA,	Appellant,


v.



ELLY CLARNER,	Appellee.

____________________________________________________________________


On appeal from the County Court at Law No. 2


of Nueces County, Texas.


____________________________________________________________________


O P I N I O N



Before Chief Justice Seerden and Justices Dorsey and

Rodriguez

Opinion Per Curiam



	Appellant, RAY BARRERA, perfected an appeal from a judgment
entered by the   County Court at Law No. 2 of Nueces County, Texas,
in cause number 97-0048-2.  The clerk's record was filed on May 4,
2000.  No reporter's record was filed.   Appellant's  brief was due on
July 5, 2000.    To date, no appellate brief has been received.

	When the appellant has failed to file a brief in the time prescribed,
the Court may dismiss the appeal for want of prosecution, unless the
appellant reasonably explains the failure and the appellee is not
significantly injured by the appellant's failure to timely file a brief.  Tex.
R. App. P. 38.8(a)(1).

	On July 14, 2000, notice was given to all parties that this appeal
was subject to dismissal pursuant to Tex. R. App. P. 38.8(a)(1). 
Appellant was given ten days to explain why the cause should not be
dismissed for failure to file a brief.  To date, no response has been
received.

	The Court, having examined and fully considered the documents
on file, appellant's failure to file a proper appellate brief, this Court's
notice, and appellant's failure to respond, is of the opinion that the
appeal should be dismissed for want of prosecution.  The appeal is
hereby DISMISSED FOR WANT OF PROSECUTION.

							PER CURIAM


Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed

this the 24th day of August, 2000




